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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       Case No. 22-20701-CIV-BLOOM/OTAZO-REYES

 PABLO COMAS,

        Plaintiff,

 v.

 CHRIS’S AUTO SALES CORP.,
 SACHA BROCHE,

       Defendants.
 _____________________________________/

                                               ORDER

        THIS CAUSE came before the Court upon Defendant Sacha Broche’s (“Ms. Broche”)

 correspondence to the Court dated September 14, 2022 (hereafter, “Letter”) [D.E. 40]. On August

 15, 2022, the undersigned issued an Order permitting Ms. Broche to file within thirty (30) days a

 motion to set aside, as to her, the Default Final Judgment [D.E. 26] entered in this case. See Order

 [D.E. 38]. Upon review of the Letter, the undersigned construes it as Ms. Broche’s motion to set

 aside, as to her, the Default Final Judgment entered in this case (hereafter, “Motion”). It is further

        ORDERED AND ADJUDGED that, within fourteen (14) days from the date of this

 Order, Plaintiff Pablo Comas SHALL RESPOND to the Motion [D.E. 40].

        DONE AND ORDERED in Chambers at Miami, Florida this 16th day of September, 2022.


                                                ____________________________________
                                                ALICIA M. OTAZO-REYES
                                                UNITED STATES MAGISTRATE JUDGE
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 Copies furnished via CM/ECF to:

 United States District Judge Beth Bloom
 Counsel of Record

 Copies furnished by mail to:

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 c/o ACCUTAX ADVISORY CORP, its Registered Agent
 3801 Hollywood Blvd
 Pembroke Pines, FL 33021

 SACHA BROCHE
 9300 NW 27th Avenue
 Miami, FL 33147




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